     Case 4:19-cv-07123-PJH        Document 539   Filed 01/20/25     Page 1 of 4



 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants
     NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
14               Plaintiffs,                      GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
15         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
16   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
17                                                SHOULD BE FILED UNDER SEAL [RE
                     Defendants.                  DOCKET NO. 524]
18

19                                                Judge: Hon. Phyllis J. Hamilton
20                                                Action Filed: 10/29/2019
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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                 Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 524]
     Case 4:19-cv-07123-PJH          Document 539        Filed 01/20/25     Page 2 of 4



 1            Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and

 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response

 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be Filed

 4   Under Seal (“Administrative Motion”) (Dkt. 524). Plaintiffs identified portions of their Opposition

 5   to Defendants’ Motion to Strike the Supplemental Expert Report of Dana Trexler (the “Opposition

 6   to Motion to Strike”) and Exhibits A-B to the Declaration of Micah G. Block in Support of the

 7   Motion to Strike (“Block Declaration”) (collectively, the “Materials”) as containing references to

 8   documents that Defendants have designated as confidential pursuant to the Stipulated Protective

 9   Order (Dkt. No. 132). Defendants have narrowed the volume of materials needing to be sealed

10   from that proposed by Plaintiffs, and provide their position regarding sealing of the Materials

11   below.

12   I.       LEGAL STANDARD

13            Although courts recognize a general right to inspect and copy public records, “access to

14   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th

15   Cir. 2006). The showing necessary to seal materials depends on how closely related those materials

16   are to the merits of the case. “A party seeking leave to file documents under seal in conjunction

17   with a non-dispositive motion” need only show “good cause exists to file the information under

18   seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH, 2018 WL 2392561,

19   at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause” standard, the relevant

20   inquiry is “whether good cause exists to protect the information from being disclosed to the public

21   by balancing the needs for discovery against the need for confidentiality.” Wells Fargo & Co. v.

22   ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013)

23   (Hamilton, J.).    Here, the Materials are not filed in connection with a dispositive motion.

24   Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires only “a

25   particularized showing” that sealing is appropriate, which “will suffice to seal documents.”

26   Kamakana, 447 F.3d at 1180.

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     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
     STATEMENT [DKT. 524]
     Case 4:19-cv-07123-PJH          Document 539        Filed 01/20/25      Page 3 of 4



 1   II.    DEFENDANTS’ LOCAL RULE 79-5(F)(3) STATEMENT

 2          As shown below, good cause exists warranting sealing the highlighted portions of pages 4,

 3   5 and 7 of the Opposition to Motion to Strike (Dkt. 524-3), and the entirety of Sarit Bizinsky Gil’s

 4   deposition transcript excerpts attached as Exhibit A to Mr. Block’s declaration, but not the Gregory

 5   Pinsonneault deposition excerpts attached as Exhibit B to Mr. Block’s Declaration (Dkt 524-4).

 6          The transcript of Ms. Gil’s deposition has been designated as “Highly Confidential—

 7   Attorney’s Eyes Only” pursuant to the Stipulated Protective Order in this case (Dkt. No. 132). Ms.

 8   Gil’s transcript, together with the highlighted sections of pages 4, 5 and 7 to the Opposition that

 9   summarize and cite to it, consist of Defendants’ highly confidential and commercially sensitive

10   contracting information and business and financial data, including information about revenues

11   received by Defendants pursuant to particular contracts. Ms. Gil’s deposition also contains detailed

12   discussion of NSO’s revenue recognition practices and the structure of its contracts, including with

13   respect to contracts for products that are not the subject of this litigation. This is the type of

14   information that is very closely guarded by the Defendants, and its public disclosure would harm

15   NSO competitively, which warrants sealing. See, e.g., Icon-IP Pty Ltd. v. Specialized Bicycle

16   Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing, profit, and customer

17   usage information, when kept confidential by a company, is appropriately sealable under the

18   ‘compelling reasons’ standard where that information could be used to the company’s competitive

19   disadvantage”); Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at *1

20   (D. Nev. June 20, 2019) (finding “[c]ompelling reasons justifying sealing court records generally

21   exist” when such files contain “business information that might harm a litigant’s competitive

22   standing”); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 2015 WL 13653885,

23   at *1 (S.D. Cal. Jan. 20, 2015) (granting motion to file under seal where “harm could result to

24   Defendants’ business operations” if the information were disclosed); In re Qualcomm Litig., 2017

25   WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties established compelling

26   reasons to file under seal records that implicate “confidential business information” subject to

27   confidentiality agreements); Bold Limited v. Rocket Resume, Inc., 22-cv-01045-BLF, 2024 WL

28   1329921 at *3 (N.D. Cal. Mar. 27, 2024) (finding compelling reasons to seal confidential business
                                                    2
       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                     Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 524]
     Case 4:19-cv-07123-PJH           Document 539         Filed 01/20/25    Page 4 of 4



 1   information, including non-public information about a company’s business strategy, business

 2   transactions, corporate structure, and finances.) Plaintiffs cannot show that a discussion of

 3   Defendants’ revenues earned and the other subjects of Ms. Gil’s testimony is relevant to this

 4   litigation, particularly in light of the facts that (a) this information could only be relevant to

 5   Plaintiff’s requested remedy of disgorgement; and (b) disgorgement is unavailable as a remedy as

 6   a matter of law. See Motion to Exclude Certain Opinions of Dana Trexler at 10-11 (Dkt. No. 502-

 7   2 at 10-11 and cases cited therein).

 8          Accordingly, Defendants respectfully request that the Court grant Plaintiffs’ Administrative

 9   Motion insofar as it seeks to seal the highlighted portions of pages 4, 5 and 7 of the Opposition to

10   Motion to Strike and the deposition transcript excerpts of Ms. Gil (Block Decl. Exh. A) (Dkt. 524-

11   4), and enter the proposed Order filed concurrently herewith sealing these materials.

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13    Dated: January 20, 2025                             KING & SPALDING LLP

14                                                        By: /s/ Aaron S. Craig
                                                          JOSEPH N. AKROTIRIANAKIS
15                                                        AARON S. CRAIG
16                                                        Attorneys for Defendants

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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                     Case No. 4:19-cv-07123-PJH
       STATEMENT [DKT. 524]
